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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

VS.                                                           CASE No. 4:16-CR-116-NBB-JMV

BRIAN JOHNSON


               ORDER DENYING MOTION FOR BILL OF PARTICULARS

       This matter is before the court on the Defendant Brian Johnson’s motion for a bill of

particulars [71]. The motion has been briefed, and the court is ready to rule.

       “The purposes of a bill of particulars are to obviate surprise at trial, enable the defendant

to prepare his defense with full knowledge of the charges against him, and to enable double

jeopardy to be pled in case of a subsequent prosecution.” United States v. Mackey, 551 F.2d 967,

970 (5th Cir. 1977) (citing United States v. Martinez, 466 F.2d 679 (5th Cir. 1972)). As

explained below, the indictment, discovery, and detention hearing testimony available to

Defendant Johnson in this case are sufficient to enable him to prepare his defense with full

knowledge of the charges against him.

       Rule 7(c)(1) of the Federal Rules of Criminal Procedure requires that the indictment be a

“plain, concise and definite written statement of the essential facts constituting the offense

charged.” The adequacy of an indictment is determined “by whether (1) each count contains the

essential elements of the offense charged, (2) the elements are described with particularity, . . .

(3) the charge is specific enough to protect the defendant against a subsequent prosecution for

the same offense.” United States v. Ellender, 947 F.2d 748, 755 (5th Cir. 1991) (quoting United

States v. Lavergne, 805 F.2d 517, 521 (5th Cir. 1986)). Further, to comply with Rule 7(c), an

indictment need not provide the evidentiary details of the Government's case. Id. An indictment
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that identifies a range of dates and a generalized area is sufficiently particular to establish the

dates and location of the conspiracy. Id. at 755-56.

        The indictment in the instant case plainly alleges a conspiracy between the defendant and

multiple named individuals in Count One and specific dates and substances sold by defendant in

Count Four and Count Nine. Moreover, the government represents it explained, through the

testimony of Mississippi Bureau of Narcotics Agent Andy Stringer at the detention hearing

of Johnson, that Johnson’s involvement in the conspiracy was based, in part on the Title III

electronic wire intercepts of the telephone of Keith Williams and Danny Turner. Agent Stringer

discussed at least two phone calls on the Williams wire, where Johnson was allegedly

intercepted. Additionally, Agent Stringer provided specific dates and amounts regarding Counts

Four and Nine. Agent Stringer also described that the sales in Counts Four and Nine were

captured on video with audio.

        Moreover, the Government has already–well in advance of the time required for doing

so– provided a copy of the file of all discovery and included a detailed discovery letter aimed at

assisting counsel in locating pertinent information pertaining to his client, which information, the

Government represents, includes the information the defendant seeks with his motion for a bill of

particulars.

        Finally, a bill of particulars “may not be used for the purpose of obtaining a detailed

disclosure of the Government's evidence in advance of trial.” Downing v. United States, 348 F.2d

594, 599 (5th Cir.), cert. denied, 382 U.S. 901 (1965). Similarly, it is not the purpose of a bill of

particulars merely to make preparation of the defense less difficult. United States v. Bearden,

423 F.2d 805, 809 (5th Cir. 1970), cert. denied, 400 U.S. 836 (1970).


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       The court, in short, is not convinced the defendant will be unfairly surprised at trial

absent a bill of particulars, and the motion is hereby denied.

       THIS, the 14th day of December, 2016.



                                                     /s/ Jane M. Virden
                                                     UNITED STATES MAGISTRATE JUDGE




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